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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.
vs.                                                 Case No.: 5:21-CV-0844-XR
GREGORY W. ABBOTT, et al.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now                  Graham White                            , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent      Plaintiffs                                   in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)

                        Elias Law Group                                 with offices at:

               Mailing address:         10 G Street NE

               City, State, Zip Code:     Washington, DC, 20002
               Telephone:     202-968-4507                  Facsimile: 202-968-4498


       2.      Since      May 2019                            , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of District of Columbia         .

               Applicant's bar license number is    888273658                                           .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:

                  Maryland                                     December 2016
                  U.S. Court of Appeals, 2nd Circuit           August 2020
                  U.S. Court of Appeals, 9th Circuit           December 2020

                   U.S. Court of Appeals, 5th Circuit           March 2020
                  U.S. District Court for D.C.                  July 2017
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4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):


            N/A



5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:

             N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):



             N/A




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.


            Yes.
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                                         UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                               SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.

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GREGORY W. ABBOTT, et al.



                                                                   ORDER

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                                          Graham White

                 Plaintiffs
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         Graham White
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